Case 1:21-cv-01453-JLH          Document 227        Filed 01/07/25      Page 1 of 4 PageID #: 22048




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  SAMSUNG ELECTRONICS CO., LTD.                       )
  and SAMSUNG SEMICONDUCTOR, INC.,                    )
                                                      )
                      Plaintiffs,                     )
                                                      )
          v.                                          )      C.A. No. 21-1453-JLH
                                                      )
  NETLIST, INC.,                                      )
                                                      )
                      Defendant.                      )
                                                      )
  NETLIST, INC.,                                      )
                                                      )
                      Counterclaim Plaintiff,         )
                                                      )
          v.                                          )
                                                      )
  GOOGLE LLC, ALPHABET INC.,                          )
  SAMSUNG ELECTRONICS CO., LTD.                       )
  and SAMSUNG SEMICONDUCTOR, INC.,                    )
                                                      )
                      Counterclaim Defendants.        )


               NOTICE OF NEW TRIAL GRANTED IN RELATED PROCEEDING

                 On December 1, 2023, this Court granted the motion to stay this action filed by

 Plaintiffs and Counterclaim–Defendants Samsung Electronics Co., Ltd. (“SEC”) and Samsung

 Semiconductor, Inc. (“SSI,” and together with SEC, “Samsung”) in light of Netlist Inc. v. Samsung

 Electronics Co., Ltd., No. 8:20-cv-00993-MCS-ADS, a co-pending contract action in the Central

 District of California. See D.I. 223 (Order); D.I. 202 (Motion). In its December 1, 2023 Order,

 the Court directed the parties to “notify the Court within 7 days of any action by the Central District

 of California (or any other court) pertaining to the parties[’] rights under the JDLA that may merit

 lifting the stay.” D.I. 223.
Case 1:21-cv-01453-JLH         Document 227         Filed 01/07/25     Page 2 of 4 PageID #: 22049




                Samsung previously notified the Court after the jury issued a verdict in the Central

 District of California action. D.I. 225. Following the verdict, both parties filed post-trial motions,

 including a motion for a new trial filed by SEC.

                On December 26, 2024, the Central District of California granted SEC’s motion for

 a new trial and denied Netlist’s motion for entry of judgment. Ex. A at 9–16. The court held that

 a new trial is warranted based on its finding that an empaneled juror provided false answers in voir

 dire relating to her prior litigation history and experience with contractual disputes and that this

 conduct demonstrated implied bias. The Court ordered the parties to meet and confer and to file a

 joint statement by January 7, 2025, proposing dates for a jury trial to begin no later than April 1,

 2025. Ex. A at 17.

                Because the Central District of California declined to enter judgment and has

 ordered a new trial in the contract action, this Court should maintain the stay in this action.

                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
  OF COUNSEL:
                                                    /s/ Rodger D. Smith II
  Brian Nester
  Peter Swanson                                     Rodger D. Smith II (#3778)
  Adam Mitchell                                     Anthony D. Raucci (#5948)
  COVINGTON & BURLING LLP                           1201 North Market Street
  One CityCenter                                    P.O. Box 1347
  850 Tenth Street, NW                              Wilmington, DE 19899
  Washington, DC 20001-4956                         (302) 658-9200
  (202) 662-6000                                    rsmith@morrisnichols.com
                                                    araucci@morrisnichols.com
  Alice J. Ahn
  Thomas E. Garten                                  Attorneys for Plaintiffs and Counterclaim-
  COVINGTON & BURLING LLP                           Defendants Samsung Electronics Co., Ltd. and
  Salesforce Tower                                  Samsung Semiconductors, Inc.
  415 Mission Street, Suite 5400
  San Francisco, CA 94105-2533
  (415) 591-6000

  January 7, 2025




                                                    2
Case 1:21-cv-01453-JLH         Document 227        Filed 01/07/25      Page 3 of 4 PageID #: 22050



                                CERTIFICATE OF SERVICE

               I hereby certify that on January 7, 2025, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

               I further certify that I caused copies of the foregoing document to be served on

January 7, 2025, upon the following in the manner indicated:

Karen E. Keller, Esquire                                               VIA ELECTRONIC MAIL
Nathan R. Hoeschen, Esquire
Emily S. DiBenedetto, Esquire
SHAW KELLER LLP
I.M. Pei Building
1105 North Market Street, 12th Floor
Wilmington, DE 19801
Attorneys for Defendant and Counterclaim Plaintiff

Jason Sheasby, Esquire                                                 VIA ELECTRONIC MAIL
H. Annita Zhong, Esquire
Michael Tezyan, Esquire
Thomas C. Werner, Esquire
IRELL & MANELLA LLP
1800 Avenue of the Stars, Suite 900
Los Angeles, CA 90067
Attorneys for Defendant and Counterclaim Plaintiff

Jonathan M. Lindsay, Esquire                                           VIA ELECTRONIC MAIL
IRELL & MANELLA LLP
840 Newport Center Dr., Ste. 400
Newport Beach, CA 92660
Attorneys for Defendant and Counterclaim Plaintiff

Kelly E. Farnan, Esquire                                               VIA ELECTRONIC MAIL
RICHARDS, LAYTON & FINGER, P.A.
One Rodney Square
920 North King Street
Wilmington, DE 19801
Attorneys for Counter-Defendants
Google LLC and Alphabet Inc.
Case 1:21-cv-01453-JLH   Document 227       Filed 01/07/25   Page 4 of 4 PageID #: 22051



David A. Perlson, Esquire                                    VIA ELECTRONIC MAIL
Jonathan Tse, Esquire
Michael Trombetta, Esquire
Elle Wang, Esquire
QUINN EMANUEL URQUHART & SULLIVAN LLP
50 California Street, 22nd Floor
San Francisco, CA 94111
Attorneys for Counter-Defendants
Google LLC and Alphabet Inc.

Deepa Acharya, Esquire                                       VIA ELECTRONIC MAIL
Jared Newton, Esquire
Sandy Shen, Esquire
QUINN EMANUEL URQUHART & SULLIVAN LLP
1300 I Street, NW
Washington, DC 20005
Attorneys for Counter-Defendants
Google LLC and Alphabet Inc.



                                   /s/ Rodger D. Smith II

                                   Rodger D. Smith II (#3778)




                                        2
